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EXhibit 1

Caliber Home Loans, Inc. Identifies Themselves
"DEBT COLLEC'I`OR LETTERS"
”..BY A DEBT COLLECTOR TO COLLECT A DEBT"

No. CV-16-08277-PCT-DLR

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Sincerely,

SPOC Department
Caliber Home Loans, lnc.

TH|S lS AN ATTEMPT BY A DEBT COLLECTOR TO COLLECT A DEBT AND ANY lNFORMATlON
OBTA|NED W|LL BE USED FCR THAT PURPOSE.

Notice to Consumers presently in Bankruptcy or who have a Bankruptcy Discharge: if you are a debtor
presently subject to a proceeding in Bankruptcy Court, or if you have previously been discharged from
this debt by a Federal Bankruptcy Court, this communication is not an attempt to collect a debt but is
sent for informational purposes only or to satisfy certain Federal or State legal obligations.

Pursuant to section 169 of the Housing and Community Development Act of 1987, you may have the
opportunity to receive counseling from various local agencies regarding the retention of your home.
You may obtain a list of the HUD-approved housing counseling agencies by calling the HUD nationwide
toll free telephone number at (800) 569-4287 or by visiting www. hud.gov/offices.

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CA L.| B E R P.O. Box 24610

oklahoma city, oK 73124-0610
-v H O M E l_OA N 5

December 15, 2016

|\/|ICHAEL J BROSNAHAN
21 HUMM|NGB|RD CIR
SEDONA AZ, 86336-7012

Caliber Account Number: 9804529874

Dear Customer:

Caliber Home Loans, lnc. ("Caliber”) is writing to acknowledge receipt of your written request to cease further
communications or to acknowledge receipt of your communication informing Caliber that you have obtained
legal representation in connection with the above-referenced account

ln accordance with the Federa| Fair Debt Co|lection Practices Act, please be advised that vou will no longer
receive an corres ondence exce t to the extent that such communications are ermitted or re uired b
applicable law. Caliber mav. however, continue to pursue anv and all remedies afforded it under the terms of

your account

if you wish to receive further communications regarding your account, please contact our Customer Service
Department at 800-401-6587, Monday - Friday between the hours of 8:00 a.m. and 7:00 p.m. Centra| Time.

Sincere|y,

Customer Service Department
Caliber Home Loans, inc.

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OBTA|NED W|LL BE USED FOR THAT PURPOSE.

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CAL_|BEF\’
~\XHOME LOANS

Michael Brosnahan
11/17/16
Page Z of 2

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0ur records indicate the loan is next due for the january 1, 2009 and subsequent payments Due to
the delinquency of the loan, the property Was referred to foreclosure on january 7, 2015. A
foreclosure sale is scheduled for November 23, 2016.

Again, We encourage Mr. Brosnahan to contact our Single Point of Contact (“SPOC"] Department at 1-
800-401-6587 for additional questions or concerns he may have in regards to his loan.

Caliber values the opportunity to address your concerns and We trust the information provided
affords a satisfactory resolution to the matter. Should you have further questions regarding this

response, please send an email to complaintresolution@caliberhomeloans.com. Please utilize our

shared email box to ensure your email is received and responded to in a timely manner.

Sincerely,
gow?/Trw? gca/ij
Courtney Ruiz

Vice President
Customer Support and Escalations

THIS lS AN ATTEMPT BY A DEBT COLLECTOR TO COLLECT A DEBT AND ANY INFGRMATlON
OBTAlNED W|LL BE USED FOR THAT PURPOSE.
Notice to consumers presently in bankruptcy or who have a discharged bankruptcy: lf your
debt has been discharged in bankruptcy or you are currently subject to an automatic stay in
a bankruptcy proceeding, Caliber Home Loans, lnc. acknowledges that you may not be liable
for this debt, and this communication is being sent for informational purposes only, or to
satisfy certain federal or state legal obligations.

13801WmELEssWAY j Oxmnora)x Clr\r,OK 7313&» § (800)401»6587 j Www.CALtBERHoMELoANs,coM

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l-lOl\/l E L_OANS P.O. Box 619063
Dallas, TX 75261-9063

May 31, 2016

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l:=:§§ MicHAEL J anosNAHAN

' 21 HuMMiNGBiRD ciR
sEooNA Az 86336-7012

   
  

Re: Caliber .Account Number: 9804529874

Dear MICHAEL J BROSNAHAN;

At Caliber Home Loans, lnc.("Caliber"), we understand how important your home is to you. That is why
we have placed you in our Single Point of Contact (SPOC) program. The SPOC Department is a
dedicated team of Specialists assigned to assist you with any questions you may have or if you need
assistance with one of the loss mitigation options available to you.

The SPOC Department can be reached: ,
BLEmme; lay Maii-, on the Web:

800-401~6587 Attn: SPOC Department \/wvw.caliberhomeloans.com
Caliber Home l_oans, lnc.
lvlon - Thurs 8:00 am to 9:00 pm Central Time 13801 Wireless Way A/I programs and content
Friday B:OO am to 7:00 pm Central Time Ok|ahoma ley, OK 73134 information are available
7 days a week 24 hours a day
'l`o ensure that we have your current contact information on file, please complete sign and send back the attached
form to:
§y Mgi|: E il:
Attn:SPOC Department callbermods@caliberhomeloans.com

Caliber Home l.oans, lnc.
P_O. Box 24610
Oklahoma City, OK 73134

Please feel free to reach out to the SPOC Department any time you have questions or need assistance

Sincerely,

SPOC Department
Caliber Home l_oans, lnc.

THlS |S AN ATTEMPT BY A DEBT COLLECTOR TO COLLECT A DEBT AND ANY lNFOR|VlAT|ON OBTA|NED
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may obtain a list of the HUD~approved housing counseling agencies by calling the HUD nationwide toll free
telephone number at (800) 569-4287 or by visiting www.hud.gov/offices.

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